    Case:17-03283-LTS Doc#:19807-14 Filed:01/18/22 Entered:01/18/22 13:06:57
            Exhibit Exhibit 14 Change Orders and Letter of Approval Page 1 of 20
                                                                                                                                                Desc:
                                                                                                                                                              \
                                        Document G701"- 2001
1   Cl1ange Order
     PROJECT: (Name and nddre.~s)                         CHANGE ORDER NUMBER:
        Centro juilidal dl' Caguas                                                                                                             0\1/NER D
        Carr PR·1, Int. Can189                            DATE:                                                                          ARCHITECT I;J
          Km 0_4, Bo Bairoa, C.oguas
                                                                                                                                       COflTRACTOR 8
     TO CONTRACTOR: (Name and ndd1·ess)                   ARCHITECT'S PROJECT NUMBER:                                    "'                     fiELD D
          I'&R Construction Croup, Inc.                   CONTRACT OAT~:                            10-Feb-11
                                                                                                                                               OTHER Q
          PO Box9932
                                                          CONTRACT FOR:
                                                                                                    Centro Judicial Caguas
          San juan, PR 00903.-9932

    'fbe Contrnct is dwnge<l os follows:
    ({nc/ude, where applicable, any wrdispllled mi!OUill ~tidbwable to previ11us/y e:<;ec!lled Co!1>'/ruclion Change DirecliV1!1>')
          To charge tor changes to work and additional finishes required                                             Total                      49,723.!15
          by O.A.T: as per annexed detail items A thru V.                                                  Insurance 205%         ''             1,026.70
                                                                                                           O.H. Profit10%
                                                                                                                                   '             5,110.9B
                                                                                                                   Total L.S.
                                                                                                                                  '             55,860.73



    The <mgiLlal (Conlmct Snm) i:G>t"'ll'lltrooJ.lli!Hm""tJWce) '""'                                                         $           94,997,000,00
    Tbe net change by previously authorized Chaiige Orders                                                                   $            11&1,912.07
    Tho (Cnntrocl Sum) (OL~) prior to t~is Change Order was                                                                  $           %,1711,912.07_
    The (Contr•ct Stlm) (G>~~) wilt tJ.c (increased) (d-.~ohmgcd)                                                                               55,860.73
    by thiS Ch"nge Ordef in the amount of
    The new (Controct Suml~·ice), inolnding \hi, Chango Ot<lcr, wi                                                                       96,234,772.80
    The Contrnot Time will be~d)o(~) (unchanged) by                                               ~ero                                     (      0) days.-
    The dote of S"bstantial CompleTion as oftbe date of thi• C~ange Order, therefore, is

    NOTE: Thio Change Order does !WI inch1de chm1ges ;, the Ca11/mcl Sum, Coatmcl Time or                                        eed Ma<imwn P,-we
    tho/ hui'e been aullmrized b.t' Com·!Jucdo;l Clumge Dh"ectiVe !111/illhe rosl a11d lime hrrl'e bee                            uprm by both the
    Owner mul Contmc/or, in which ca.<e a Cho11ge Orde!" ;, aecutcJ lo ""l'"'"ede the ConstniC -                                 11ge Dlr-eclil-e.
     NOT VAUD UNTIL SIGNED ay THE ARCHITECT, CONTRACTOR AND OWNER.




                                                                                                          m=~~""""'''•m'"''-'''"'""'"'z
                                                                                                          (Jyl'eJ 1wme)                             __ _
                                                                                                          DATE
     GAl!llON: Vnu •f,ould sl~n "" orl~inat AlA Conlract Dacumont, on which this to•! appoaro In RED. An ori(llnal '""'"eslhol
     <:honges will not bo obscured.

     AlA DD<ument G101 '"- 2001. Cop)'flahl<> 1070, 1007, 2/JOO and 2001 bylho ~mancan '"''''"''or Amhlloel•. All rlgh10 """''"- WAANING:       T">s
     AIA"Documenl le P'""'·''" bV li.S. Copjrl~l\1 ULw on~ IHloro•tionot Trootlo•. Unmllhorl>e<~ ,-.pro~"'""" ordlotrlt>LIII<m ol Uoi• AJA0 DDCUlo\olll,
     or any po<tiM o/11, m•y "''""in'''"'" d'il•n~ o~mlnal ponoltloo, and will ho prooeeu~ m tho maximum o<lont P""'"'" """"' U,o l>w. '
     Pu'""'""' '"' poom1Liod Lo '""""'""" !en (1 0) rop1ao oi Lhl• dorumcnt Mien e<>mrleted. To """" <DP>•Ioht 'l""'tl"'" ol AlA Colltmot Documeo~. c·moll
     11l0 .....,nc,n '"""'"'' o/A<rniiOCis' lcgol ""'""'· """'""ht@Oia.mo                                     -                                  """'-
    Case:17-03283-LTS Doc#:19807-14 Filed:01/18/22 Entered:01/18/22 13:06:57                              Desc:
            Exhibit Exhibit 14 Change Orders and Letter of Approval Page 2 of 20
                                               l!f«t~bc 'l!lilm c~snd~~" b• :Pu<rln Jil.iu
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    ;Nan. Jiilnnill ~i.Jdi• ;ri!Hu Qlulint                                                                          ''
     Jllir'd"'" J'.l!'"ini•lmii"" l>< loo <fuihonn],.                                          fu!uUu~m>ti u~i<i•Ljr<




         15 de mayo de 2013



         Lcda. Hilda Rodriguez Forteza
         Presidenta
         RAMHIL Developers, Inc.
         PO Bo~~: 190573
         SanJuan, PR 00919-0573

          Estimada licenciada Rodriguez Forteza:.

          Re: Nuevo Centro Judicial de Caguas                                                                   I
          Como parte del proceso de·habilitaci6n del proyecto de referencia, se identific6 ta!
          necesidad de rea\izar varies cambios. Los mismos fueron evaluados, por lo cuallei
          autorizamos a llevarlos a cabo a un cos to adicional de $55,714.68 (ver anejos).                      i

          Cordial mente,
     Case:17-03283-LTS Doc#:19807-14 Filed:01/18/22 Entered:01/18/22 13:06:57                                                                        Desc:
             Exhibit Exhibit 14 Change Orders and Letter of Approval Page 3 of 20
--
                                           Document G701"- 2001
       Change Order
       PROJECT: (N,jmep~d address)                           CHANGE ORDER NUMBER:
             CCntto ndiCial dil Lilguas                                                                                                          OWNERO
             Carr PR-1, Int. Carr189                         DATE:
                                                                                                                                             ARCHITEct 0
             Km (1_4, Ba Bairoa. Caguruo
                                                                                                                                          CONTRACTOR 0
       TO CONTRACTOR: (Name and addreS<)                                                                                      "''                     AELDD
              F&R ccinstrncticm Group, Inc.                                                              10-Feb-11
              PO Box 9932                                                                                                                            OTHERD
                                                                                                         Centro Jndidul Caguas
                                                             CONTRACT FOR:
              San Juan, PR 00908-9932
                                      '
      The Contract is changed as follows:-
      (Include, wh'ere applicable,· dny undisputed ammmt atlrilmtable to previously executed Cons/roc/ion Chango Dlrect!ws.)
              To charge
                 - -
                        forchiin9es
                           --   ' '
                                    requestecl by OAT. at Court Room~
                                                                   ,,_. to relocate fum~ure as par
                                                                                                 ..
              Cla1m No. 24 Rev. No.1.                                                   . _,..,,_-~ "'
                                                                                 ,, ..-'·C\'·"" -
                                         ; '"                   T~:.:kJ<::i\-1' $ 2742300                                                            • ,




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       The (Contract Smn) (Gue<ap••W, ~f.als.jm""' D.juj prior to this Change Order was·:,':;'-,:---
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      ·me (Contract Sum) ((J.W,...' ..U •-,.;-~ "o&iu) w1ll be (i~creased) (d• ,.,;;,;~~                                                              27.42).90 . /
       by this Change Onler in -the a'mount of                                 "'!"''-·                                            $
       The new (Contract Su~ "'"!~).including this ChangeOnler,~i
                                                              be  $                                                                             %,385,672.76
       The Contract Time Wlll be Ci""k"""'~ (~P'"'"""j ~tikhanged) by                                    >:ero                                   (         I) days.
       The date ofS~hsliontial Completion as of the date of this Change Onler, thereforo, is
       NOTE: This Change Order does not include changes ill lhl! Cantrac/ Sum. Con/rae/ Time or Guaranteed Maximum Price
       t/ral have been autlrori:ed by D>mtrUcrion Change Directive rmli/the cO<I and lime hai'C been agreed llf'l'n by both 1M
       Owner and O>ntrocror, in which <"ase a Chtmge Order Is executed to supenede the Construction Chango Direcltt!e.
       NOT VALID UNTIL SIGNED BY THE ARCHITECT, CONTRACTOR AND OWNER.

                                     I                                                                                          Rrunhil Devclo,perS, lnc.
                                                                                                                 OWN~R (Firm m>me)




        CAUTJON' You ohould        ~lgn an original AlA Contract Document, on " ' ' " " ' " ' " ' " ' " ' " '" ''"'· ' " '""''"''' """'"'"'"
        change~ Will not bo obsou,.d.:

         AlA !><ocwnont 0701". aGO!. COI>'/rtght;;> 1070, 1087, 2000 oOO 2001 byTOol\merl<llO In'"'"'" of Anohile«•. All ~Q~ .. '"'""'"- WA~~ING' Thio
         AIA0 Dooum<mt I• p.otectod by U.S. Cop)'tight Low ond inlomo"onoi Tre•li,., Unoutltori"d «pmduo~on ordlwltru"on oi lt>lo AIA0 Documont,
         oc ony portion of It may roouli In'""'"' olvjl ond c<lmlnal penaltl .. , or.dwlll bo prooo""'led to tl1o maximum O<lenl possible ""''''the low.
         Pu«:hl""' are oormlltod to c.pn>duca ton I tO) coplao of thl> d<o:Umonl whon romplatooi To report col'l'riont ""''"""" of AlA Cool"" Ooooumonto, o-maU
         Tl>o Amorioon lnsmuoeol Arcl.ltects' 1""""""".. 1, o;opy<l~ht@alo "'9-                                                                       ~,,,..,,,..
          Case:17-03283-LTS Doc#:19807-14 Filed:01/18/22 Entered:01/18/22 13:06:57                    Desc:
                  Exhibit Exhibit 14 Change Orders and Letter of Approval Page 4 of 20
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         ,Dimto<n J\hmi" i•lr>d W• 0 • (00 'ijj,; bu,.ol.,




             24 de junio de 2013



              Led a. Hilda Rodriguez Forteza
              Presidenta
              Ramhil Developers, Inc.
              PO Box 190573
              San Juan, PR 00919-0573

              Estimada licenciada Rodrigllez:

              Recibimos el estimado de costas de! 14 de mayo de 2013 par Ia relocalizaci6n de
              podios en las Salas Criminales, as[ como Ia re!oca!izaci6n del cajOn de testigos y
              mesas de abogados en todos los Sa!ones de Sesiones. Luego de una revisiOn, el
              costa asci en de a $27,423.90.

               El documento fue evaluado y recomendado favorahlemente. Par lo tanto, le
               autorizamos a llevar a cabo los cambios antes mencionados a un costa de
               $27,423.90.

               Cordialmente,
              Case:17-03283-LTS Doc#:19807-14 Filed:01/18/22 Entered:01/18/22 13:06:57                                                                                                                                                                                                       Desc:
                      Exhibit Exhibit 14 Change Orders and Letter of Approval Page 5 of 20

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               ; PROJECT: (Nameandadd~ss):                                                                                                       CHANGE ORDER NUMBER:                                                                                                                              I
               i ·•:: '"Ceiltto Judidalde Laguas                                                                                                                                                                                                                                OWNER[]
            . \i !, ·· Carr PR-1, Int. Carr 189 ·                                                                                                DATE:                                                                                    3                                                        I
                                                                                                                                                                                                                                                                            · ARCHITECT ~
                        Km 0.4, Bo B~oa, Caguas
             :_11(.:         ''      <;:~:                                                                                                                                                                                                                    447        CONTRACTOR []
         · i[:.·J:to CONT~CJOR: (N_a~~~ and address)                                                                                             ARCHITECT;S PR                                                                                                                                    I
                                                                                                                                                                                                                                                                                       FIELD[]
           'if: :~~1t                                                                                      Group, Inc.
                                                                                                                                             .. CONTRACT, DA
                                                                                                                                                 CONTRACT FOR:
                                                                                                                                                                                                                  Centro Judicial Caguas
                                                                                                                                                                                                                                                                                      OTHER[]
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            · (lnc;lud~;'.Where'(ipp{i.cab.....                                              ry undisputed amount attributable to previously executed Construction Change Directives)
                                              ·-~ :.:.;~- ~ ·:ii:~~---~:;~:;:~·l j~~¥i~~t~)iifl ..,. : . . ...    '      '       . ·.
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                                              To ch~JV~- fo~1mf~~)'i(3)"assign receptacles at Gym required yOAT_ as requested by owner.
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          . •. ·1!he;ongim~l.(Confr~q6S.fim) (~ ..                                                                                                                                                                                                                             94,997,000.00
               · ; ~ ::    . · ·· ·: ;<::· > :. ~:3:; :·/r., ;~j;:;.J~..:\!;;,,.;;:P.'·
              . Th~, net Gh!lnge' by pteyigu~IJ:Jutli'Q,rized Change Orders                                                                                                                                                                                                     1,835,2~.24
                                                                            . .~      ;,';!!"~·:~-;~:.';-~~-~(;.!'

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                  : .,                        '         .    ..                                                                 .        .                              .            .                              .
              1])11~ (Co~tnict ~V,,D;l[',,(q~) prior to_ this Change Order:w                                                                                                                                                                                      $
                  \·        ... , ·' .. ~-.. ..
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                                          ,·•· :'>'·,                '.;!·:~·:•y::_;,;~:r:;:,:'ft!.;...~                                                                                                                                                                                               I       '
              tlie;(C<?.ntracfSum)'(G~) will-be (increased) (d                                                                                                                                                                                                                   . . 3,0301.89                 ~
              by' this Change 'Otdei· in,:th~;~incn1nt of .                                                                                                                                                                                                       $
              Th~ new (C~nb;a~tS~~), including this Change_ Order,_will be,                                                                                                                                                                                       ·$           96,835,295·.13
              lihe c~ntraet'Tim~::~irib·e (~-(~nchan~~d) by.·                                                                                                                                             .. z~~...                   .                   .                    ( 0 ) deys.
                                                                                                                                                                                                                                                                                          I
                       '             .                       - ... : ··: . 1:'..:.:· .. ·. ~. :·.   l




              T;he:date oMubft..tanti4fCoippletion as of the date ofthis Change Order, therefore, is
              Nor£:.:Thi;:~U~~;~· ~rde~ does no; tnclud~ th~~ges in the Co~t;act Sum, Contract Time qr.chtaranteed Maximum Price
                  thcirhal;~·be~~ authqrized by Construction Change Directive until the cost and time have been agreed upon by both the
               '(~wner and Coniractbr} in which case a Change Order is executed to supersede_ th~ _Construction Change Directive.
              .. ~                   ·.                                                                                                                                         .'           .             •·..     .    :    .                       '


                  N,Oii VALlO, UNTIL SIGNED BY THE ARCHIT~Ct, CONTRACTOR AND OWNER;. :
                                                              -: ·=: ...                                                                                                                                                                                      .         .                                  I
         Architd~c- .(            J.M.A. & M.G.M.       F&R Construction Group, Irtc.                                                                                                                                                                          Ramhil Developers, n:tc.
         PO B~~ij~afJ~firm nam~alle Las Marias # 2p2oNTRACTOR {Fir                                                                                                                                                                OWNER (Firm nari1e)                            ,,:,.,.,_·::;'\           I
                                                                                                                                             :c..,...,="'EE""'lF!.'-''-fr-'-'F:7==~=~~-F=0908                                                                                 ;•SaliJiiiin,. PR 00.919
                                                                                                                                                                                           . ADDRESS .                                                                          ;!i                        I

                                                                                                                                                                                                                                                                    Uc. Hilda Rodti uez                    I

                                                                                                    .      DATE        .I       .
                       CAUTION: You should sign an original AlA Contract Document, on w!'Jich this text appears in RED.!. An original assures that
                       chtlil[Jes will not be obscured.       . ·    .             .                     .               :

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                           Pur<:llasers are permitted to reproduce ten (1 0) copifl~ .of this document when comoleiArl 'Tn •oM .. :..--· __ ;, ··~·-·-~·_ _11_ _ _ _ _ _ _ _ _                                                                                                                             +-------
                           The American Institute of Architects' IP.n"l .-n"n"~' ------· • · - ·                                             _
  Case:17-03283-LTS Doc#:19807-14 Filed:01/18/22 Entered:01/18/22 13:06:57                                   Desc:
          Exhibit Exhibit 14 Change Orders and Letter of Approval Page 6 of 20
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   12 de agosto de 2013



   Lcda. Hilda Rodriguez Forteza
   Presidenta
   Ramhil Developers, Inc.
   PO Box 190573
   San Juan, PR 00919-0573

   Estimada licenciada Rodriguez:

   Recibimos el estimado de costas enviado para la instalaci6n de 3 receptaculos
   dedicados en lo que sera el gimnasio del proyecto del Nuevo Centro JudiCial de
   Caguas. El costa asciende a $3,047.33.

    El documento fue evaluado y recomendado favorablemente. ! Por lo taato, le
    autorizamos a llevar a cabo el cambia antes mencionados a un costa de $3,04.7.33.

    Cordialmente,




 JOO )!lox 19 0917 JOan munu, Ju•dn ilf!i<O 00919-0917 -lJ!4n•••: (7 B7) 641-6623 - 641-1624 - ~nx (7 87) 766-
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  Case:17-03283-LTS Doc#:19807-14 Filed:01/18/22 Entered:01/18/22 13:06:57                                                                                                                                                                                           Desc:
  '-i
          Exhibit Exhibit 14 Change Orders and Letter of Approval Page 7 of 20
'"1-



                    AlA ·;E>.ocumentiG:l1011" ~ .2001
   ·ctiaiJge Order




   Tlw Contia~V)~ ¢l{~~~:~ astfJrt<>ws: . •·                                                                       ~ '• .                                     .           .        .           .        . .. : .             . ..·_        .                              I
       (Inclu'q~, wi;re~i_qpfoftta!J:{~:y;;~l; undf$pUted a11l9lmt attriqutable to previo7jSl)J ex~c~ted. Constructio~ Cha,nge Directives.)
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          . ··, To-c~asg!3:.:ne_                                                     }openings at.Family./.Minors courts,                                                                                ~ired by:O.A.T .



          .>•nd,~;~!~:ilfJfJ""                                                                            Claim ho:                       31: · · . · ·                            ~-,;·:;===-=-
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       The 'net change'.~§pr'e_yiqV,~iY,;~ut .                          d Change Orders.
            '..;;:·.: :.;<... ., .~.-::-~' '-,~-~~·:~" -~~:::c~~~.;~~~.    ,             . .
       The (Cbntract Su~):.(O~}prior to .this Change Order.wa                                                                                                                                                                                  $              96 395 1 '22.90
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       The.(Cpntract"Siiin)'(~) will be (increased) (d
       by this Change'OJ.ioef.i:lthJ.l~t'ilin:ount of· · · . .                                                                                                           : ·
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       The new (Contr!lc(~iln. ·                                                                                                                                  ), including this Change· Order, will qe                                     $              96.418.865.44
     ~he C·q~tJ;\):C~~::fi~~:;;iU-be ~ ~nchanged) by , z~~- ·                                                                                                                                                                                                  (       ()) ~ays .
  .. The da~~-i~f:~~~~~~~H~Fc~~pletion'~s or'the-date of this C~ange Order, th~refor~, i~                                                                                                                                                                                 I

     NOTE:. This.·.Change Order does not include changes in the Contract Sum, Contract Time or Guaranteed Maximum Priee
   · that haveb~¢n\iuthgrized by Coi1stru~ti01i Change Pi~:ectivi/w;ttl the cost and tilnihave b~en agreed ~tpon by both the
     DJ-vner and Contractof, in which c'ase aChange Order is execut.ed to ·supe':sede:the Constntction Change Directive.
        NOTNALID·U~TIL SIGNED BY THE.ARC!ilTECT,· CONTRACTOFfANO OWNER. :




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        '(T)pec(::i2P}~ Z- ZO/ . · . ·                                                                                                                                                                                                     -::;-.,       2 -/J 1
                              3 .D~T.~ - ,. . ; .'
                                                                                                                                                                                                                                      1


         DATE    :                                                                                                                                                       I..   .                                       DATE .         i        '        ..                I
        CAU~ION: you should sign a11 original AlA Contract Document, on which this te)(t appears i_n.RfD. An original assures thai
        changes w1ll_ not be obscured. .. .                                                             .. ·        .              ·                                                       · · · . .·            ·      ·             1


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         Purchasers are perinilte}l to rElproduce !en:(10) copie.s of. th!s dopument when completed: Tp report C?pyright vlolation!l of AlA Contract Documents, e-mail
         The American Institute of Architects' Jegal'counsel. coovriahtra>aia.nrn                                ·               j"                      ·
          Case:17-03283-LTS Doc#:19807-14 Filed:01/18/22 Entered:01/18/22 13:06:57                                      Desc:
                  Exhibit Exhibit 14 Change Orders and Letter of Approval Page 8 of 20
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          21 de junio de 2013



           Lcda. Hilda Rodriguez Forteza
           Presidenta
           RAMHIL Developers,. Inc.
           PO Box 190573
           San Juan, PR 00919-0?73

            Estimada licenciada Rodriguez Forteza:

            Re: Nuevo Centro Judicial de Caguas

             Recibimos su estimado de costos del 3 de junio de 2013 por $23,692.54 por la
             instalaci6n de cristales. en ·~as Salas de Familia y Menores del ¢entro Judicial de
             referenda. Hemos ,evaluadb su recomendaci6n y la acogemos fa~orablemente.
                                                                                                     I

              Por lo tanto, le autorizamos a proceder con el cambia antes meri,cionado, segun lo
              establecido en esta comunicaci6n;                               i

              Cordialmente,




          J® 1filox 190917 ~nu IDmm, 'Ju.edo ~h:u·on919-0917- 'ffielHouos: (787) 641-6623- 641-li6 Z4- ;Nnx (787)76.6-983
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Case:17-03283-LTS Doc#:19807-14 Filed:01/18/22 Entered:01/18/22 13:06:57                                                                                     Desc:
        Exhibit Exhibit 14 Change Orders and Letter of Approval Page 9 of 20


                                           Document ·G7t01™ 2001                                  -
Change Order
 PROJCECT: (Nr;me.m;zd address)
       entia JUdicial de Laguas
     Carr PR-1, fut. Carr 189
                                                             CHANGE ORDER NUMBER:
                                                             DATE:
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                                                              ARCHITECT'S ~'~~:~i§~iiNOMBER:
 TO CONTRACTOR: (Name and address)                                                                                                                             I
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         F&R ConstrU:ctio~ Group~ me.                         CONTRACT OAt.~·~;~,,,,,.           10-Feb-ll                                                     I
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                                                              CONTRACT FOR:                            .     1
         San Juan, PR 0090~,..9932                                                                                                                               I
The Contra~tis changed as'f'~{Iows:                                                   . .                            l.            .       .             .       I
(Include, where applicable, qn.i' undisputed amount attributable to previously executed Con~tmction Change Directives.)
       . To, char~e:Jorpp~ ~dditional Light Fixture at nine (9) roo~s·· s requested by 0.A.T.
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         as per Glaim No;$6,- ..
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                                                                               . $     1,967.80


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The original (Contract Sum)-~··                                   ·~was

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The (Contract Sl}m)(G~) prior to this Change Order                                                                                     $
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  The. (Contract Sum) ( - ) w i l l be (increased) (d . ·'' "                                                                 )                              1,967.80
· by this Change Onler in. the ~mount of              ·                                                                                $·
 The new (C~n~act.S~. ··               .                     ·.       · ), including this Change Order, 'X!~r+.                        $ ___9_6_,3_5_8-,2-4+~.-8-6
 The Contract T1me will be~ (~nchanged) by                                                            zero         lYI/~                             (        ()) djys.
 The date of Substan!U,I Coi>)j>letion as of the date of this Change Order, therefore, is                           L1( '                                            I
 NOTE: This Change Order does not include changes in the Contract Sum, Contract Time or Guarant~ed Maximum Pric1
 that have been authorized by Consh<tction Change Directive until the cost and time have been agreed upon by both the
 Owner and Contractor, in which case a Change Order is executed to supersede the Constructi?n Change Directive.
 NOT VALID UNTIL SIGNED BY THE ARCHITECT, CONTRACTOR AND OWNER.                                                           !                                          I
                                                                                                                                  Ramhil Developers, Ihc.




  BY(Sig7 e)                     ._",-·: ,: 1
Arq Jorge Beserra   . Manue ~onzalez/ Juan Alvarez
  (Typedname)       ·      -._ '"

           ((J-·%-/3         I
  DATE                                                                                                       DATE
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  CAUTION: You should sign an original AlA Contract Document, on which this text appears in RED. An original assures that
  changes will not be obscured.                                             ·                  I
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Case:17-03283-LTS Doc#:19807-14 Filed:01/18/22 Entered:01/18/22 13:06:57                                                                                                       Desc:
       Exhibit Exhibit 14 Change Orders and Letter of Approval Page 10 of 20
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   P.O. Box 190917
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   San Juan, Puei·to .Rico 009 j P-0917 ·                                                      ~

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  William Pando ~~yes
  Directoriq ·ae Adniinisb~aci.6n
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   Lcda. Hilda Rodi."igu·e·z·· J?orteza ·. ·.
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   Rarnhil Developer·.s, "ii1c."... ·                                                                                                           I ...

   Pb .Box 190.513 .. ~- ··: .
   San. Juan, P.R 00919,.05.73
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   Re: Lam para.~ Cuar;to~
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                           Servidores:- Nuevo Centro JudiCial de :Caguas
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   Hemos r·evisado el estimado.de L;ostos enviado 'para ii1stalarlhr!p:aras ctdicionales e1
   los cuarta·s. de servidores_:def ~diftdo d~-h~ferencia.. Le atitdrizan1os.·a realizar e
   cambia c6rrespon(\i~nte a !JU Co~fo de $1,967,80 ..•.. ·. ··•··• .· ....· ,


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          Case:17-03283-LTS Doc#:19807-14 Filed:01/18/22 Entered:01/18/22 13:06:57                                                                                 Desc:
                 Exhibit Exhibit 14 Change Orders and Letter of Approval Page 11 of 20
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         .PROJECT: (Nam~_ard address)'" ·                                    · CHANGE ORDER NUMaER: ·
         : ·: Centro Juruaal de Caguas                                                                                                                     OWNER 0
           ·· CarrPR-1 fut. 6rir18.9·                                        ·DATE:
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                 Km 0.4, Bo Bajroa, Cagu.aS ··-~· ·
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         'TO CONTRACTOR: (}{qm(!. and address)
                                                    ., .                                                                                                    FIELD 0
                  F&RCqpstruction Group, Inc. . · CONTRACT DA                                                 10-Feb:-11.
                  PQ·Box~9932';:..;:: .<::
                                       , ·                               ·                                                                                 OTHER 0
                                                                                                      ·m-   · Centro Judicial Caguas
                  Sru'i;Ju~, R~j)i)9os)~?932 ..·                              CONTRACT FOR:




          The date of S~~!!tllU.~i!ll Co~ppletion as of the date of this Change Order; therefore; is·
          NOTE: .·This Change Order does not include changes in .the Conti·act Sum, Contrqct .T,ime or Guaranteed Maximum Price
          thai have_'b~~~ _quthorized by Constnictton.C~~rig¢:D(r.ecti,Ve .until the cast: and time hav~ b~en agreed upon by both the
          011'1/el' and Coniractb~, in which .C(/Se q· c;h~/1g~ Order_ (s. executed'to supersec(e (hf! Construction Change Directive.

          NOl VALID:UNTIL SIGNED SYTHE·ARCHITI;GT; CONTRACTOR AND OWN~R;                                                                .                I
     Architek                                              J.M.A& M.G.M. .         F&R Construction roup, Inc.                      .Ramhil Developers, ~c.
     PO Bo~Rt~¥0fJ's(Firm ~am~;ille_LasMariaf? # l~ONTRACT              2                                       · 'OWNER (Firm name)                        ";:i!::._   .l
     SanJ~·~,PR 00910.                                     . uan,P.R 00927         ...@f                                                                    :Jud:n,PROO 19
         · ADDRESS                                                           ADO   ss ·;w                                                                                I
          ·ev ($.igntiture} ·.· . .
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         Arq.' Joige Beserra                                                                                                                Uc. Hilda Rodrf uez




           DATE
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           (Typed nqine) '::
                                          ;.2               ;2-0()'
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           CAUTION: You should sign an original AlA Contract Do.curnent, on which.'this teld appears in RED.JAn original assures that
           changes will not be obscured.                          ·                           ·  ·
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            Tho American Institute of Architects' legal counsel. coovriahtlnl"l" nrn                      ·                         J
                    Case:17-03283-LTS Doc#:19807-14 Filed:01/18/22 Entered:01/18/22 13:06:57                                              Desc:
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                           Exhibit Exhibit 14 Change Orders and Letter of Approval Page 12 of 20
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                         12 de agosto de 2013



                         Lcda. Hilda Rodriguez Forteza
                         Presidenta
                         Ramhil Developers, Inc.                                                                     i.

                         PO Box 190573
                         San Juan, PR 00919-0573

                          Estimada licenciada Rodriguez:

                          Recibimos el estimado de costos enviado para la realizaci6n de varios cambid~
                          soli?i~ados en los plano's de telec_om~nicaciones d~l proy~~to :del Nuevo Cen~rp
                          Jud1cml de Caguas. Los cambws mcluyen la mstalacwn ~e ductos, relbJe~
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                          poncha. d~res, cajas de data adicionales y cajas para televisores adicionales. · ~, .
                          costa asc1ende a $7,155.28.            .                        :                 \
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                           El documento fue evaluado y recomendado favorablemente.:: Por lo tanto,· 1~
                           autorizamos a llevar a cabo los cambios antes mencionados a un costa d'
                           $7,155.28.

                            Cordialmente,
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                      Case:17-03283-LTS Doc#:19807-14 Filed:01/18/22 Entered:01/18/22 13:06:57                                                                                                                                                                                                                                      Desc:
                             Exhibit Exhibit 14 Change Orders and Letter of Approval Page 13 of 20


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                    :po Bo~ 1920168                                                                                                                                                                                                         :'··: OWN~R/~io""1 nqnie) -: -                                                  -                        I.
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·,,.   Case:17-03283-LTS Doc#:19807-14 Filed:01/18/22 Entered:01/18/22 13:06:57                            Desc:
              Exhibit Exhibit 14 Change Orders and Letter of Approval Page 14 of 20
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        12 de agosto de 2013



        Lcda. Hilda Rodriguez Forteza
        Presidenta
        Ramhil Developers, Inc.
        PO Box 190573
        San Juan, PR 00919-0573

         Estimada licenciada Rodriguez:

         Recibimos el estimado de costos enviado para la instalaci6n de una tablilla en el
         mueble de stenographer. Este cambio se realizan1 en 30 muebl~s del proyecto del
         Nuevo Centro Judicial de Caguas. El costo asciende a $1,200.                     ·

         El documento fue evaluado y recomendado favorablemente.. Por lo tanto, le
         autorizamos a llevar a cabo el cambio antes mencionados a uncostode $1,200.

          Cordialmente,




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       J® )!iax 190911 JO•n :Uu•~.:jhurtn ~ita 00919-0917 -JIJnn•~~: (787) 641-6623 • 641Js624 - Jl:ox (787) 766-i831
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         Case:17-03283-LTS Doc#:19807-14 Filed:01/18/22 Entered:01/18/22 13:06:57                                                                                                                                                           Desc:
                Exhibit Exhibit 14 Change Orders and Letter of Approval Page 15 of 20


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      16 de diciembre de 20 13



       Lcda. Hilda Rodriguez Forteza
       Presidenta
       RAMHIL Developers, Inc.
       PO Box 190573
      ·San Juan, PR 00919-0573

       Estimada l~cenciada Rodriguez Forteza:

       Re: Nuevo Centro Judicial.de Caguas

       Para mejorar la distribuci6n del sistema de comunicaciones se identific6 la
       necesidad de reemplazar el sistema de distribuci6n de cables de telecmnunicaciones
       (cable tray) por dtictos (EMT Conduits).· El estimado de co'stos· sometido fue
       revisado y se acord6 realizar la labor ami costa de $2,748.44.

        Por 16 tanto, le autorizamos ·a proceder con el cambia antes mencionado, segUn. lo
        establecido en esta comunicaci6n.                              ·

         Cordialmente,
   Case:17-03283-LTS Doc#:19807-14 Filed:01/18/22 Entered:01/18/22 13:06:57                                                  Desc:
          Exhibit Exhibit 14 Change Orders and Letter of Approval
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    16 de diciembre de 20 13




     Lcda. Hilda Rodriguez Fmteza
     Presidenta
     RAMHIL Developers, Inc.
     PO Box 190573
     San Juan, PR 00919-0573

      Estimada licenciada Rodriguez Fmteza:

      Re:. Nuevo Centro Judicial de Caguas
      La Oficina de Administraci6n de los Tribunales solicit6 convertir una oficina de
                                        .                                                 I               '


      abogado ·en el are.a de· Asistencia Legal en el tercer nivel. Como .p·arte de los
      trabajos se deben realizar trabajos de plomerfa para instalar una pileta con todos sus
      componentes (ver anejo). El estimado de costas sometido fue revisado y se acord6
      realizar la labor a un cos to de $1,715.17.

       Por lo tanto, le autorizamos a proceder cm{el cambio- antes mencionado, segun lo
       establecido en esta comunicaci6n.

        Cordialmente,




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               Exhibit Exhibit 14 Change Orders and Letter of Approval Page 18 of 20                                                                                                         I



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    24 de marzo de 2014



     Lcda. Hilda Rodriguez Forteza
     Presidenta
     RAMHIL Developers, Inc.
     PO Box 190573
     San Juan, PR 00919-0573

     Estimada licenciada Rodriguez Forteza:

     Re: Nuevo Centro Judicial de Caguas
     El 15 de mayo de 2013 le dirigimos una comunicaci6n autorizando la realizaci6n
     de varios cambios a un costo de $55,714.68. Entre los cambios recomendados, se
     contempl6 la expansion del Salon Comedor en el Area de Secretaria General
     localizado en el piso 1. No obstante, en los cambios autorizados no se incluy6 un
     gabinete de cocina que aparecfa plasmado en el disefto original.

     Recibimos de RAMHIL cotizaci6n por $1,391.96, la cual fue evaluada y
     recomendada favorablemente .. Por lo tanto, le autorizamos a llevar a cabo el
     trabajo antes mencionado por $1,391.96.

      Cordialmente,




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     22 de abril de 20 14




     Lcda. Hilda Rodriguez Forteza
     Presidenta
     RAMI-IlL Developers, Inc.
     PO Bo'x 190573
     San Juan, PR 00919-0573 ·

      Estimada licenciada Rodriguez Forteza:

      Re: Nuevo Centro Judicial de Caguas

      Los espacios ·en el area designada como Archivo Inactivo en el edificio de
      referenda fueron redistribuidos recientemente. Por necesidad del servicio se
      determin6 que el espacio para revisar expedientes se convertira en Ia oficina del
      Supervisor, por lo que se hace necesario privatizarla mediante la instalaci6n de una
      puerta.

      La cotizaci6n presentada . por RAMI-IlL fue evaluada y se recamend6
      favarablemente autarizar el cambia a· un costa· de $768.95. Par lo tanto, le
      autarizamos a llevar a cabo el trabajo antes mencianado por $768.95.

       Cordialmente,




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